Case 2:05-cr-20300-.]TF Document 3 Filed 08/30/05 Page 1 of 2 Page|D 6
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uNITED sTATEs oF AMERICA ) 1b
) cR. No. 05-20300@{9§,1\1)3515- ;
vs. ) W;'D U?‘ lN-,i` .-"_?.APHiS
)
)

TYRONE PATTERSON
)

APPLICATION ORDER and WRIT FOR H.ABEAS CORPUS AD PROSE UENDU'M
`__'_‘*_____`_L_

The United States Attorney's Office applies to the Court for a Writ

to have TYRONE PATTERSON, DOB: 04/16/1973, RNI: 156392, now being

 

detained in the Criminal Justice Center, 201 Poplar Ave., Memphis, TN.
_ `T'u.e§da/,
appear before the I-Ionorable Diane K. Vescovo on Meada.y September 6, 2005
@ 2:00 p.m. for Initial Appearance and for such other appearances as this
Court may direct.
Respectfully submitted this 30th day of August, 2005.

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sTEPHEN'P. HA.LL
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, DAvID JoLLEY, U.S.
MARSHAL, WESTERN D:l:s'rRIcT or szmss:s, MEM:PHIS, TN., SH:RIFF/WARREN, SHELBY CoUNTY
CR:MJ:NAL JUs'rIcs CENTER, Mmmn:s, TN.

YOUR ARE HEREBY COMMANDED to have TYRONE PATTERSON, DOB: 04/16/1973,

 

RNI: 156392,appear before the Honorable Diane I{. Vescovo at the date and

 

time aforementioned?

ENTERED thi s __day of August , 2 0 0 5.

Thts document entered on the docket ltance M
with Ftu|e 55 and/or 32( (b) FRCrP on

UNITED STATES M.AGISTRATE J'U'DGE

  
 
 
 
 

    

UNITE ST`TESDITRICT oURT - WESERNT D"RITICT o TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20300 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

